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 1   TALONYA ADAMS
     522 North Central Avenue
 2
     Ste. 25401
 3   Phoenix, AZ 85004
     Telephone: 602.903.8809
 4   Email: talonya@gmail.com
 5   Plaintiff

 6
                       IN THE UNITED STATES DISTRICT COURT
 7
                            FOR THE DISTRICT OF ARIZONA
 8

 9   Talonya Adams,                                 No. CV-17-00822-PHX-DLR
10                       Plaintiff,
                                                    PLAINTIFF’S NOTICE OF
11   v.                                             NON-SATISFACTION
                                                    OF JUDGMENT (DOC. 384)
12
     Arizona Senate,
13
                         Defendant.
14
            In response to Defendant’s unverified and false Notice of Satisfaction of
15
     Judgment (Doc. 412), Plaintiff, without waiver of legal questions, theories and
16

17   remedies, hereby gives notice that the Judgment in a Civil Action (Doc. 384) in favor

18   of Plaintiff and against Defendant Arizona State Senate has not been satisfied in full.
19          On August 9, 2022, Plaintiff made a demand to Defendant for payment of the
20
     Judgment on or before August 19, 2022.           On August 18, 2022, Mr. Moberly
21
     responded to the Demand for payment of this Court’s ordered judgment, as follows:
22
               “This is to acknowledge receipt of your email below, which I have
23
               passed on to our client. Your inquiries are under consideration and
24             we will respond to you as soon as we are able.” See Exhibit A.

25          On August 19, 2022, Defendant Arizona State Senate did not remit payment.
26          On September 21, 2022, Ms. Kristy Peters, Defendant’s new legal counsel,
27
     refused to remit payment to the Clerk of Court pending resolution of legal questions,
28
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 1   and disputes ranging from imputed phantom income and punitive taxation based
 2
     upon form and method of payment to interest rate accrual dates.
 3
           On September 26, 2022, Ms. Peters notified Plaintiff that “State of Arizona”
 4
     sent an uncertified letter, with a check in the amount of $300,000.00 via regular
 5

 6   U.S.P.S. snail mail on September 21, 2022. See Exhibit B.

 7         On October 7, 2022, Plaintiff received a certified letter envelope with an
 8   undated meter postage stamp via U.S.P.S. mail. The envelope contained a single
 9
     document entitled “State of Arizona Remittance Advice—Warrant No. 210625902”
10
     with a perforated paper check dated 09/30/2022, in the amount of $5,926.93. See
11

12
     Exhibit C.

13         As of this filing, the above referenced “warrant” is the first and only monetary
14   payment Plaintiff has received from Defendant in this case. In an effort to avoid a
15
     summons, motion and application for legal enforcement, Plaintiff remitted wire
16
     instructions to Ms. Peters to allow Defendant to securely remit payment on or before
17
     Thursday, October 13, 2022 in the amount set forth in this Court’s Judgment dated
18

19   December 3, 2021.

20

21         RESPECTFULLY SUBMITTED this 12th day of October 2022.

22

23                                                 By: /s/Talonya Adams
                                                       Talonya Adams | Plaintiff
24

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                                               2
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 1

 2
                               CERTIFICATE OF SERVICE
 3

 4

 5         I hereby certify that on October 12, 2022, the foregoing Notice of Non-
 6   Satisfaction of Judgment was electronically transmitted to the Clerk’s Office using
 7   the CM/ECF system for filing, and a COPY of the foregoing will be mailed to the
 8   address below:
 9

10 Kristy L. Peters
   LITTLER MENDELSON, P.C.
11 2425 E. Camelback Road, Suite 900
   Phoenix, Arizona 85016
12
     kpeters@littler.com
13

14 Neil Todd McKay
15 Office of the Attorney General
   2005 N. Central Avenue
16 Phoenix, Arizona 85004-2926

17
     todd.mckay@azag.gov
18

19   Attorneys for Defendant

20 By: /s/Talonya Adams
21 Talonya Adams

22

23

24

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                                             3
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         EXHIBIT A
                  Case 2:17-cv-00822-DLR Document 413 Filed 10/12/22 Page 5 of 11


  From:    Moberly, Michael mmoberly@clarkhill.com
Subject:   RE: Adams v. Senate Judgment
   Date:   August 18, 2022 at 3:17 PM
     To:   Talonya Adams talonya@gmail.com


       Hi Talonya:

       This is to acknowledge receipt of your email below, which I have passed on to our client. Your inquiries are under consideration and we will
       respond to you as soon as we are able.

       Regards,

       Mike

       Michael D. Moberly
       Attorney at Law
       Clark Hill
       3200 N. Central Ave., Suite 1600, Phoenix, Arizona 85012
       +1 602.440.4821 (office) | +1 602.781.7812 (cell)
       mmoberly@clarkhill.com | www.clarkhill.com

       -----Original Message-----
       From: Talonya Adams <talonya@gmail.com>
       Sent: Wednesday, August 10, 2022 11:03 AM
       To: Moberly, Michael <mmoberly@clarkhill.com>
       Cc: t. <talonya@hotmail.com>
       Subject: Adams v. Senate Judgment

       [External Message]

       Hi Michael,

       When does the Senate intend to pay the outstanding judgment in the Adams v. Senate (2016) matter? As we have previously discussed, and you are
       well aware the back pay calculations using the 2012-2015 discriminatory pay rate is incorrect—will you concede that point and agree to make an
       adjustment pursuant with Arizona State Bar cannons?

       Additionally, the Court has yet to rule on costs, what is your clients position on attorneys fees and costs incurred from the July 2019 trial and
       separately, the November 2021.

       Lastly, for purposes of efficiency, consider this a demand for payment on or before Friday, August 19, 2022.

       Regards,

       Talonya Adams
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          EXHIBIT B
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          EXHIBIT C
               Case 2:17-cv-00822-DLR Document 413 Filed 10/12/22 Page 10 of 11


  From:    Peters, Kristy KPeters@littler.com
Subject:   RE: Adams v. Senate | Civil Judgment
   Date:   September 26, 2022 at 1:06 PM
     To:   Talonya Adams talonya@gmail.com
    Cc:    Lovell, Andrea ALovell@littler.com, Bishop, Aurea ABishop@littler.com, Walker, Suzy SBWalker@littler.com


       Ms. Adams:

       Here are the responses to your questions below:

             Categorical amount - $300,000
             Date sent - 09/21/2022
             Method of delivery - UPS mail
             Sender - State of Arizona
             Whether the funds were sent certified or not - It was not sent certified mail."
       This payment reflects the compensatory damages set forth in the Judgment (Doc. 384)
       and you will receive a 1099 for this amount.

       I look forward to receiving your responses regarding the remaining numbers set forth in
       the Judgment.

       Kristy

       Kristy Peters
       Office Managing Shareholder
       602.474.3639 direct, 602.432.3080 mobile
       KPeters@littler.com

       Pronouns: She/Her




       Labor & Employment Law Solutions | Local Everywhere
       Camelback Esplanade, 2425 East Camelback Road, Suite 900, Phoenix, AZ 85016-4242
       From: Talonya Adams <talonya@gmail.com>
       Sent: Monday, September 26, 2022 8:09 AM
       To: Peters, Kristy <KPeters@littler.com>
       Subject: Adams v. Senate | Civil Judgment


       [EXTERNAL E-MAIL]


       Good morning Kristy,

       Thank you for taking time to meet with me on Friday. I am glad that we agree the
       termination date was February 13, 2015, the past lost benefits ($4,924.40) will not be run
       through payroll and to delineate interest accrual amounts to identify areas of agreement.
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After our discussion and further review of the Judgment (Dkt. No. 384) dated December
3, 2021, I recalculated the compound interest rates on each category, however there is
pending due diligence that I need to conduct to allow for a precise comparative analysis
of your monetary calculations. I will provide the calculations by no later than Thursday,
September 29, 2022.

As of Saturday 24, 2022, the “compensatory damages” check was not in my mailbox. As
we discussed, please provide the specific details regarding the dissemination of any and
all payments rendered to date including but not limited to the categorical amount, the
date sent, method of delivery, sender and whether the funds were sent certified or not.

I am working on a deadline on two non-related matters and I have a commitment this
evening, however if you need to reach me please call me on my cellphone at (602) 903-
8809.

Thank you,

Talonya Adams
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This email may contain confidential and privileged material for the sole use of the intended recipient(s). Any review, use, distribution or disclosure
by others is strictly prohibited. If you are not the intended recipient (or authorized to receive for the recipient), please contact the sender by reply
email and delete all copies of this message.

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